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       Nos. 22-2003, 22-2004, 22-2005, 22-2006, 22-2007,
       22-2008, 22-2009, 22-2010, 22-2011 (Consolidated)
              UNITED STATES COURT OF APPEALS
                   FOR THE THIRD CIRCUIT

                      IN RE: LTL MANAGEMENT, LLC,
                                                    Debtor,

               *OFFICIAL COMMITTEE OF TALC CLAIMANTS,
                                                 Appellants,
         *(Amended per Court’s Order dated 06/10/2022)

    On Direct Appeal from the United States Bankruptcy Court
  for the District of New Jersey, No. 21-30589, Adv. Proc. No. 21-
                                3032

 AMICI CURIAE BRIEF OF THE CHAMBER OF COMMERCE OF
THE UNITED STATES OF AMERICA AND THE AMERICAN TORT
REFORM ASSOCIATION SUPPORTING DEBTOR-APPELLEE AND
                  REHEARING EN-BANC

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                        INTEREST OF AMICI CURIAE1

     The Chamber of Commerce of the United States of America

(“Chamber”) is the world’s largest business federation. It directly

represents 300,000 members and indirectly represents the interests

of more than three million companies and professional organizations

of every size, in each industry sector, and from every region of the

country. An important function of the Chamber is to represent the

interests of its members before Congress, the Executive Branch, and

the courts. The Chamber regularly files amicus curiae briefs in cases,

like this one, that raise issues of concern to the nation’s business

community.

     The American Tort Reform Association (“ATRA”) is a broad-

based    coalition      of   businesses,        corporations,     municipalities,

associations, and professional firms that have pooled their resources

to promote reform of the civil justice system with the goal of ensuring

fairness, balance, and predictability in civil litigation. For more than



1 Counsel for Amici Curiae certify that no party or party’s counsel
authored any part of this brief. No one, apart from Amici Curiae, their
members, or their counsel, contributed money intended to fund the
brief’s preparation or submission. This brief is filed by leave of the
Court.

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three decades, ATRA has filed amicus curiae briefs in cases involving

important liability issues.

      Many    of    Amici’s    members          participate       in    bankruptcy

proceedings    in      different    capacities,       including        during   plan

confirmations under Chapter 11. Therefore, Amici have a strong

interest in the appropriate interpretation of bankruptcy court powers

and the ability of businesses to address mass tort liabilities under

U.S. bankruptcy law.


                                   ARGUMENT

 I.   Bankruptcy Court Resolution Of Mass Tort Liabilities Has
      Been A Key Tool For U.S. Businesses Since The Bankruptcy
      Code Was Enacted In 1978

      After the     Bankruptcy Code was enacted in 1978, Johns-

Manville Corporation (“Manville”), a solvent company whose building

products contained asbestos, filed a voluntary bankruptcy case to

address mounting lawsuits (16,000 at the time of filing). Those

lawsuits were anticipated to cause a “crushing burden” to Manville

over the next 20-30 years as a staggering number of suits would

manifest at some time in the future. In re Johns-Manville Corp., 36




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B.R. 727, 729 (Bankr. S.D.N.Y. 1984), leave to appeal denied 39 B.R.

234 (S.D.N.Y. 1984), mandamus denied, 749 F.2d 3 (2d Cir. 1984).

     Because of Manville’s solvency, the filing “was greeted with great

surprise and consternation” by its creditors. Id. A committee of

asbestos litigants filed a motion to dismiss the case, asserting

arguments like those Appellants make in this case. As the Manville

court stated, the issue was whether “over-calculation of Manville’s

financial problems are relevant to establish the kind of bad faith in

the sense of an abuse of th[e] Court’s jurisdiction which will vitiate

the filing of a Chapter 11 petition.” Id. at 730.

     The Manville court resolved that issue by making the

fundamental point that a debtor need not wait until the financial

situation is dire to file a Chapter 11 petition. Id. at 730–40. The

reasoning, based on Congress’s intent in enacting the Bankruptcy

Code, was that the bankruptcy process should be open and resort to

it should be encouraged to permit rehabilitation efforts since

“[b]elated commencement of a case may kill an opportunity for

reorganization . . .” Id. at 736 (citing REPORT OF THE COMMISSION ON THE

BANKRUPTCY LAWS    OF THE   UNITED STATES, H.R.Doc. No. 137, Part II,

93rd Cong., 1st Sess. 75, 75 (1973); H.R.Rep. No. 595, 95th Cong.,

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1st Sess. 220 (1977)). Manville then proposed a plan that channeled

all asbestos claims to a trust that was intended to provide fair and

equal payments to those harmed by their products.

     This Court has acknowledged that it is appropriate to use the

bankruptcy process for mass tort cases like Manville’s, where a

debtor faces a growing wave of tens of thousands of asbestos-related

claims over the course of 20-30 years and significant financial

difficulties from large judgments that had already been entered. See

In re SGL Carbon Corp., 200 F.3d 154, 164 (3d Cir. 1999). SGL Carbon

specifically noted that mass tort cases with large numbers of pending

or potential claims were justified filings. Id. at 164 n.15 (referencing

the bankruptcy of A.H. Robins Company, which had settled 9,238

claims but still had 5,000 claims related to the Dalkon Shield medical

device pending, and the bankruptcy of Dow Corning Corporation,

which faced 19,000 individual silicone-gel breast implants and 45

putative class actions at the time of filing).

     Since Manville, lower courts in this circuit and others have

rejected asbestos claimants’ efforts to contend that solvent, well-

funded debtors facing asbestos mass tort claims should be dismissed



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under § 1112(b) for cause.2 See, e.g., In re Muralo Co., Inc., 301 B.R.

690, 697 (Bankr. D.N.J. 2003) (“The Asbestos Committee here simply

ignores the undeniable destructive effect on Debtors’ everyday

business operations wrought by their sudden immersion in the world

of asbestos mass tort. . . . this consideration, without more, is a

significant factor evidencing the good faith of Debtors’ filings.”).

     For the last 40 years, businesses facing mass tort claims have

filed Chapter 11 petitions to address those liabilities and the courts

have consistently permitted them to do so irrespective of the solvency

of the debtor or the state, nature, and timing of the company’s

financial distress. As a result of these bankruptcy filings, millions of

people have received compensation for their claims, often in a prompt

and efficient manner, while at the same time preserving the beneficial

aspects of those businesses.

      This all changed on January 22, 2023, when a panel of this

Court applied a new standard to an asbestos mass tort case that has


2    As Amici detailed in their brief submitted before the panel,
businesses with non-asbestos, mass tort claims have also filed
Chapter 11 cases to utilize the type of trust used in the Manville case.
Brief for The Chamber of Commerce and ATRA as Amici Curiae
Supporting the Debtor 7–9, In re LTL Management, LLC, No. 22-2003,
ECF No. 118 (3d Cir. filed Aug. 22, 2022).

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never been applied before. Namely, a standard of financial distress

that considers only numbers on a balance sheet and does not

consider the existential risk of present and future liability that could

one day destroy the company. This rule is bad for companies and tort

plaintiffs and if it is going to be imposed as a new standard, it should

be imposed by Congress or, at a minimum, by a full en banc panel of

this Court.

II.   The Panel’s Novel Interpretation of Financial Distress Is Not
      Supported by Precedent and Warrants Consideration by an
      En Banc Panel of this Court.

      After Johns-Manville’s plan was confirmed, Congress enacted

legislation, 11 U.S.C. § 524(g), to specifically address asbestos mass

tort claims in Chapter 11 reorganization and to allow companies with

immense liability to use the structured bankruptcy system to better

manage those liabilities. Within a few years of the Act’s passage, “[a]t

least 15 asbestos manufacturers, including UNR, Amatex, Johns-

Manville, National Gypsum, Eagle-Picher, Celotex, and Raytech

organized or liquidated in attempts to address massive numbers of

known and unknown asbestos claimants using Chapter 11 of the

Bankruptcy Code.” Sheldon S. Toll, Bankruptcy and Mass Torts: The

Commission’s Proposal, 5 Am. Bankr. Inst. L. Rev. 363, 364 n. 8
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(1997) (citing Nat’l Bankr. Rev. Comm’n, Bankruptcy: The Next

Twenty Years, Final Report 315 n. 6 (1997)).

     The “financial distress” standard this Court now applies to

asbestos mass tort cases is not in the Bankruptcy Code. This

standard originated in situations outside the mass tort context. See

SGL Carbon, 200 F.3d at 166. As noted in Muralo, a mass tort

asbestos case is different from the situation in SGL Carbon where

there were only six antitrust claims pending against the debtor, who

was using bankruptcy “to gain leverage” over the antitrust plaintiffs.

Muralo, 301 B.R. at 697, 699. In a case with limited litigation or a

two-party dispute like SGL Carbon, “financial distress” is a proxy for

potential   litigation    tactics,3   not    a   stand-alone    standard     for

determining whether a debtor acted in bad faith.

     This Court’s “financial distress” precedent—once understood as

a proxy for whether bankruptcy was being used as a litigation tactic

in a two- or limited-party dispute—has never been used to dismiss a

petition of a debtor facing mass tort asbestos liability, and should not


3     Similarly, in In re Integrated Telecom Express, Inc., the “financial
distress” test was used as a proxy for the solvent debtor’s litigation
tactic to use bankruptcy to reduce its obligation to the landlord. 384
F.3d 108, 122 (3d Cir. 2004).

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have been used do so here. The panel’s decision did not find that the

Debtor used bankruptcy as a litigation tactic. Panel Op. 54 n. 19.

Instead, it found bad faith because the Debtor ensured that present

and future tort claimants would have access to similar and sufficient

resources. The panel’s conception of bad faith is anathema. And it is

a highly significant expansion of SGL Carbon and Integrated Telecom

that changes the trajectory of how mass tort bankruptcy filings in the

United States have been treated under the Bankruptcy Code for the

last 40 years.

       The issue is of nationwide significance and justifies rehearing.

III.   The Panel’s Standard for Financial Distress is Unworkable
       and Divorced from the Reality Businesses Face in the
       Context of Mass Torts

       The panel’s decision also dispensed with the familiar financial

distress standard on which businesses have come to rely. Thousands

of claims and billions in actual and potential liability are now

insufficient to create financial distress. In its place, businesses must

look to a new, apophatic standard for financial distress—one entirely

derived through negation. According to the panel, in the mass tort

context, if a debtor cannot fund recoveries, then it is too financially

distressed. But if it can fund recoveries, then it is not financially

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distressed enough. No real guidance, however, is given to explain how

a businesses is to know if it is appropriately financially distressed

and where and when the line should be drawn.

     Worse, the Court’s approach seems rooted in a fundamental

misperception about the MDL process. MDLs handle pre-trial

coordination of mass-tort proceedings. In some instances, but not

here, pre-trial legal rulings can eliminate some or all claims.

Moreover, MDL parties may allow bellwether trials, which often

provide an idea about the viability of certain legal theories. But

individual bellwether trials are voluntary, are often self-selected by

one of the parties, and do not necessarily help determine the validity

or valuation of thousands of unresolved and future claims. Especially

with asbestos, which involves “latent injuries and an unknown class

of potential future claimants,” MDLs “have limited utility in providing

effective, timely, and final global resolution.” U.S. Chamber of

Commerce Institute for Legal Reform, Unlocking the Code: The Value

of Bankruptcy to Resolve Mass Torts, 30 (Dec. 2022). Indeed, the

Debtor has thus far been unable to achieve a global resolution.

     One thing is clear—the Debtor here faces financial distress.

There are presently over 38,000 ovarian cancer actions and over 400

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mesothelioma actions pending against the Debtor, and “thousands

more in the decade to come” are expected. Panel Op. 20. The

bankruptcy court found that exposure from the mesothelioma claims

alone surpassed $15 billion. The Debtor already lost massive

judgments, including a single jury awarding $4.69 billion, reduced on

appeal to $2.24 billion to 20 plaintiffs. Ingham v. Johnson & Johnson,

608 S.W.3d 663 (Mo. Ct. App. 2020), cert. denied, 141 S. Ct. 2716

(2021). In total, it has already paid approximately $3.5 billion, with

almost $1 billion in defense costs and monthly expenditures between

$10 to $20 million. As the bankruptcy court found, the value of all

present and future claims may exceed tens of billions of dollars. And

the Debtor must also face the enormous disruptive effect of managing

the litigation that will take place across the country over the next

couple of decades. These facts justified a bankruptcy filing and

support a finding that it was made in good faith.

     Outside of bankruptcy, plaintiffs will continue to sue, seeking

billions. In bankruptcy, these claims would be considered valid

unless proven otherwise or estimated at a lower value. But here the

panel paid little attention to the factors relevant to financial distress

in the mass tort context. Instead, contrary to findings below, the

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panel took upon itself to engage in fact finding to reduce the value of

the thousands of claims facing the Debtor. Experience proves the

panel’s exercise in reduction wrong because the bankruptcy process

itself has a notice and claim filing process that invariably results in

the actual claims submitted during the bankruptcy process

surpassing the estimated value of the pending claims in existence at

time of filing.

      The panel’s decision also directed the Debtor to wait until there

is “a longer history of litigation outside of bankruptcy.” Panel Op. 39.

According to the panel, over five years of litigation, over 38,000

claims, and over $4.5 billion in costs is not enough. The breakdown

of a potential multi-billion-dollar global settlement was also not

enough. Rather, the panel supposes that somehow more litigation

may allow the Debtor to better value, and potentially settle, the

claims against it. The panel’s speculation is not supported by the

record, and it creates an unworkable standard for financial distress—

one that requires businesses to guess at how a court will weigh a

variety of factors.

      In finding the Debtor was not financially distressed, the panel’s

decision also contravenes the purpose of § 524(g), which Congress

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enacted specifically to resolve asbestos-related mass-tort claims. See

In re Federal-Mogul Global Inc., 684 F.3d 355, 359, 362 (3d Cir. 2012)

(observing that § 524(g) was intended to “enabl[e] corporations

saddled with asbestos liability to obtain the fresh start promised by

bankruptcy” and to “remedy[] some of the intractable pathologies of

asbestos litigation.”). Section 524(g) “affirms what Chapter 11

reorganization is supposed to be about: allowing an otherwise viable

business to quantify, consolidate, and manage its debt so that it can

satisfy its creditors to the maximum extent feasible, but without

threatening its continued existence and the thousands of jobs that it

provides.” Id. at 359 n. 8 (quoting 140 Cong. Rec. 28,358 (1994)

(statement of Sen. Brown)).

     Until the panel’s decision, no petition filed to benefit from

§ 524(g) has ever been dismissed for bad faith. That makes sense:

“given the lengthy latency period of asbestos-related diseases,

companies facing asbestos risk have no way finally to resolve or even

effectively estimate their exposure.” In re Plant Insulation Co., 734

F.3d 900, 905-906 (9th Cir. 2013). There are more than 60 asbestos

trusts in operation, holding billions of dollars to “compensate

claimants expeditiously at minimal cost.” Mark A. Behrens, Asbestos

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Trust Transparency, 87 Fordham. L. Rev. 107, 111 (2018). But the

panel’s decision casts doubt on whether § 524(g) is available to

businesses facing catastrophic asbestos liability as Congress

intended. After the panel’s decision, a business may need to wait

until numerous present claimants have been paid in full and

insurance coverage is depleted or exhausted while later, future

claimants are left with much less to compensate them for the same

harm from the same product.


                             CONCLUSION

     The panel’s decision creates a new, unworkable rule for mass

torts. Under this panel’s new policy and court-made gloss, a business

cannot file a bankruptcy case to address thousands of tort claims,

billions in judgments, and tens of billions in contingent liabilities. At

a minimum, such a significant and important issue should be taken

up by the full Court in an en banc hearing. Amici respectfully request

the Court to grant the petition.




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Dated: February 21, 2023                   Respectfully submitted,

                                           /s/ Ilana H. Eisenstein

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                  CERTIFICATE OF COMPLIANCE


I hereby certify as follows.

     Pursuant to this Court’s Local Rule 28.3(d), I am a member of
the bar of this Court.

      Pursuant to this Court’s Local Rule 31.1(c), the text in the
electronic copy of this brief is identical to the text in the paper copies
of the brief filed with the Court.

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Local Rule 31.1(c) because this document was scanned for viruses
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Rule of Appellate Procedure 29(b)(4) because this brief contains 2,596
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Dated: February 21, 2023                          /s/ Ilana H. Eisenstein
                                                  Ilana H. Eisenstein




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                      CERTIFICATE OF SERVICE


     I hereby certify that on February 21, 2023, I electronically filed

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of Appeals for the Third Circuit by using the CM/ECF system. I certify

that all participants in the case are registered CM/ECF users, and

that service will be accomplished by the CM/ECF system.



                                           /s/ Ilana H. Eisenstein
                                           Ilana H. Eisenstein




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